                                           Case 5:15-mc-80003-NC Document 15 Filed 04/15/15 Page 1 of 3




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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                         SAN JOSE DIVISION

                                  11
                                        LEGALZOOM.COM, INC.,
                                  12                                                         Case No. 15-MC-80003-NC (LHK)
Northern District of California




                                                       Plaintiff,
 United States District Court




                                  13                                                         ORDER DENYING MOTION FOR
                                                v.                                           RELIEF FROM NONDISPOSITIVE
                                  14                                                         PRETRIAL ORDER OF MAGISTRATE
                                        ROCKET LAWYER INC.,                                  JUDGE
                                  15
                                                       Defendant.                            Re: Dkt. No. 13
                                  16

                                  17          Plaintiff LegalZoom.com (“LegalZoom”) seeks discovery from Google, which is not a

                                  18   party to this suit. Plaintiff served Google with a subpoena, and subsequently moved to compel

                                  19   Google’s production of several categories of documents. ECF No. 1. Magistrate Judge Cousins

                                  20   denied Plaintiff’s motion to compel, finding that Plaintiff had failed to take such “reasonable

                                  21   steps” as are required under Federal Rule of Civil Procedure 45 to obtain discovery from non-

                                  22   parties. ECF No. 10. Plaintiff now moves for relief from Judge Cousins’ order denying Plaintiff’s

                                  23   motion to compel. ECF No. 13.

                                  24          LegalZoom’s subpoena seeks from Google, for a four-year period, “any and all

                                  25   documents” relating to Rocket Lawyer “free” advertisements, “any and all communications”

                                  26   between Google and Rocket Lawyer relating to Rocket Lawyer “free” advertisements, and “any

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                                       15-MC-80003-NC (LHK)
                                       ORDER DENYING MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF MAGISTRATE
                                  28
                                       JUDGE
                                           Case 5:15-mc-80003-NC Document 15 Filed 04/15/15 Page 2 of 3




                                   1   and all documents” relating to studies managed or performed by a Google entity, Google

                                   2   Ventures, concerning Rocket Lawyer “free” advertisements. ECF No. 10 at 4. Judge Cousins

                                   3   denied LegalZoom’s motion to compel because LegalZoom had failed to explain why the

                                   4   discovery LegalZoom sought from Google was unobtainable from a party to the suit: the

                                   5   Defendant, Rocket Lawyer. Id. LegalZoom merely asserted that there were “significant gaps”

                                   6   and “irregularities” in Rocket Lawyer’s prior production of documents, and Judge Cousins found

                                   7   that “[d]espite extensive conferring and briefing, LegalZoom has not specified the parameters of

                                   8   the ‘gaps’ that Google needs to fill.” Id. Moreover, Judge Cousins rejected LegalZoom’s

                                   9   contention that it “should be entitled to review documents in Google’s possession as a cross-check

                                  10   against any production previously made by Rocket Lawyer,” finding that the Federal Rules of

                                  11   Civil Procedure create no such entitlement. Id.

                                  12          A magistrate judge’s ruling on a non-dispositive pretrial matter will be modified or set
Northern District of California
 United States District Court




                                  13   aside only if “clearly erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A); see Fed. R. Civ. P.

                                  14   72(a); Grimes v. City & Cnty. of S.F., 951 F.2d 236, 241 (9th Cir. 1991). In reviewing for clear

                                  15   error, the district judge may not simply substitute his or her judgment for that of the magistrate

                                  16   judge. See Grimes, 951 F.2d at 241. Rather, a magistrate judge’s non-dispositive ruling is clearly

                                  17   erroneous only when the district court is left with a “definite and firm conviction that a mistake

                                  18   has been committed.” Burdick v. Comm’r Internal Rev. Serv., 979 F.2d 1369, 1370 (9th Cir.

                                  19   1992); see United States v. Abonce-Barrera, 257 F.3d 959, 969 (9th Cir. 2001) (noting that a

                                  20   magistrate judge’s decisions with regard to discovery disputes and other non-dispositive matters

                                  21   are entitled to “great deference”).

                                  22          Having reviewed the parties’ submissions before Judge Cousins in connection with

                                  23   Plaintiff’s motion to compel, ECF Nos. 1, 5, 6, the transcript of the February 25, 2015 hearing on

                                  24   the motion to compel before Judge Cousins, ECF No. 12, Judge Cousins’ order, ECF No. 10, and

                                  25   the applicable law, the Court finds that there is no support for Plaintiff’s position in either the

                                  26   Federal Rules of Civil Procedure or case law. See Nidec Corp. v. Victor Co. of Japan, 249 F.R.D.

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                                       15-MC-80003-NC (LHK)
                                       ORDER DENYING MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF MAGISTRATE
                                  28
                                       JUDGE
                                           Case 5:15-mc-80003-NC Document 15 Filed 04/15/15 Page 3 of 3




                                   1   575, 577 (N.D. Cal. 2007) (“There is simply no reason to burden nonparties when the documents

                                   2   sought are in possession of the party defendant.”). Therefore, the Court concludes that

                                   3   LegalZoom has failed to demonstrate that Judge Cousins’ order was clearly erroneous or contrary

                                   4   to law. Judge Cousins’ ruling is entitled to deference, and LegalZoom’s arguments fail to leave

                                   5   the Court with a “definite and firm conviction that a mistake has been committed.” Burdick, 979

                                   6   F.2d at 1370. Accordingly, LegalZoom’s motion for relief from Judge Cousins’ order is hereby

                                   7   DENIED.

                                   8   IT IS SO ORDERED.

                                   9

                                  10   Dated: April 15, 2015

                                  11                                                  ______________________________________
                                                                                      LUCY H. KOH
                                  12                                                  United States District Judge
Northern District of California
 United States District Court




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                                       15-MC-80003-NC (LHK)
                                       ORDER DENYING MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF MAGISTRATE
                                  28
                                       JUDGE
